Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 1 of 28

 

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INTRODUCTION

 
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FACTS

 

       

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Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 6 of 28

 

    

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Case-1:18-cv-00087-CM Document 8 Filed 01/03/18 Page 12 of 28

I NEW | Corrections anc

<—_. SIATE | Commiunity Supervision

ANDREW M. CUOMO . ANTHONY J. ANNUCCI
Governor Acting Commissioner

‘MEMORANDUM |

‘TO: . | Inmate Population

ane Ob eytoe s. .

FROM: James A: O’Gorfiian; Acting Deputy Commissioner for Correctional Facilities

 

‘ SUBJECT: © Inmate Packages (Green Haven Correctional Facility)
“DATE: _ November 29, 2017

The Commissioner: has approved Green Haven Correctional Facility to participate iin the pilot Secure
Vendor Program which’ is tentatively scheduled to’ begin on December 4, 2017. Directive #404 1A,
“Inmate Packages,” will be in effect at the start of the pilot program and will replace the existing Directive
.#4911,."Packages & Articles Sent or Brought to Facilities.” :

Eight vendors (Aramark Correctional Services, LLC: E-Ford Commissary, Inc.;, Jack L. Marcus, Inc.;
Keefe Commissary Network, LLC.: Platinum Empire Unlimited Inc. DBA Just Right Packages; Music.
By Mail; Inc; Union Supply Group, Inc.;-and -Walkenhorst’s, Inc.), have been approved by the:
- Department to provide packages and articles listed within Directive #4911A. Except for the initial
fourteen day grace period, only packages received directiy from approved vendors will be permiited in
accordance with Directive #49141A. Effective December 4, 2017, -under no circumstances will packages
be accepted from.a visitor or dropped off at the facility.

Eligible inmates will order packages and articles utilizing disbursement forms and ordering forms from
the approved vendor's catalogs. Inmate's family members and friends will be able to order packages
and articles from the approved vendors via an ofline/internet web page that will be linked to the -
Depariment’s home page, mail order catalogs provided by the approved vendors vor calling the’
approved vendors toll free number. The method of payment will be major credit cards, cashier checks

or money.orders.

Packages for the Family Reunion Program will continue in accordance with. Directive #4500; "Family
Reunion Program,” and the facility's local policy. . . .

The goals of the Depariment’s Secure Vendor Program are to maximize the availability of food and
articles for inmates and to have approved vendors, offer a variety of items at competitive pricing for
‘inmates, their families and friends; while maintaining security and providing an efficient operation.

 

The Harriman State Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (818) 457-8126 | www.doccs.ny.gov
Case 1:18-cv-00037-CM Document 8_ Filed 01/03/18 Page 13 of 28°°~
FORM 21311E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE GRIEVANCE COMPLAINT

 

Grievance No.

 

 

 

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SCREEN HAVEN CORRECTIONAL FACILITY
patel 2/1/2017
Name: PANZEL MILLER Dept.No.: 2583706 Housing Unite 4-5

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible)Fhe new package directive,
-4911, is not racially neutral, targets Low-income and minority
inmates an@ their families, violates equal protection under. both
the NY and PEDERAL Constitutions, wiolates the Hormant, Commerce.
Clause ef the U.S. Constitution, violates monopoly! and illedat
restraint of trade, deceptive business practices and price gouging
jaws on NY State, subjects inmates to Cruel and Unusual
Punishment, forces us to pay shipping over 10 times current rates,;.
subjects inmates to sickness and exposure and other health
hazards, and violates the federal PACT Act with respect to sale of
tobacco through U.S. Mail and Commercial Carriers.

 

 

Grievant i] no : - Oh
Signature: Avast Sitths ta) Catt

Grievance Clerk: , Date: na

 

Advisor Requested [] YES NO Who:

Action requested by inmate: That Directive 4911A be reseinded,

 

 

The Grievance has been formally resolved as follows:

 

 

 

 

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant a,
Signature: _ Date:

 

If unresolved, you are entitled to-a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 14 of 28
FORM 21311E (9/12) . STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE GRIEVANCE COMPLAINT

 

Grievance No.

 

 

GREEN HAVEN CORRECTIONAL FACILITY
Datet2/1/2017 _

 

Name: EUGENE RANDOLPH Dept. No: 4582288 Housing Unit -4~20

 

 

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible)The new package directive,

4911A, is not racially neutral; targets low-income and minority
inmates and their families, violates equal protection under both
the NY and FEDERAL Constitutions, violates the Dormant Commerce
Clause of the U.S. Constitution, violates monopoly. and illegal
restraint of trade, deceptive business practices and price gouging
favs on NY. State, subjects inmates to Cruel and Unusual
Punishment, forces us to pay shipping over 10 times current rates,
subiects innates to sickness and exposure and other health
hazards, and violates the federal PACT Act with respect to sale of
bobacco through U.S. Mail and Commercial Carriers.

 

?
Grievance Clerk: Date:

Ste: Aaa s Rawls Dp

 

 

Advisor Requested L]YES [stNO Who:

 

Action requested by inmate: Thar Directive 4911A he rescinded.

 

 

The Grievance has been formally resolved as follows:

 

 

 

 

This informal Resolution is accepted:
(To be completed only if resolved prior to hearing) -

Grievant ;
' Signature: Date:

 

if unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
* An exception to the time limit may.be requested under Directive #4040, section 701.6(g).

 
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NEW YORK STATE DEPARTMENT OF CORRECTIONS
AND COMMUNITY SUPERVISION

GRIEVANCE COMPLAINT

 

Grievance No.

 

 

 

GREEN HAVEN CORRECTIONAL FACILITY

Datel °/1/1?

RA oy

Name “utene Mazgzic Din. No. LL Ags 23 __- Housing Unit ¢~4~2

ProgramUnemp toyed AM PM

(Please Print or Type - This form must be filled within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible)\New pac“ ade

income ane minority families and unlawf

  

 

 

 

 

 

 

 

fecerel ano state Taw, ecustes to price ogovseing and derartive
BILS i Yo e areas pas pe el ae NYS 7 Biz y ey gl i oy eo 3 2 e
Grievant / joy
Signature S/ Cl Lf
t 7 y /
Grievance Clerk Date:

 

 

Advisor Requested [| Yes No Who:

 

Action requested by inmate:

That the sew dire

 

ohtections af

 

 

This Grievance has been formally resolved as follows:

 

 

 

 

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant

signature Date:
if unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
*An exception to the time limit may be requested under Directive #4040, section 701.6(g).

 
Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 16 of 28 . | |

oo, Daniel Miller - Din No. 15+A+3706
' Green Haven Correctional Facility + P.O. Box 4000 + Stormville, NY.12582

September 17, 2017

 

Via First Class Mail

‘United States' Attorney's Office
‘Southern District of New York.
Sylvio J. Mollo Building
One St. Andrew's Plaza
New York, NY 10007
Attns Criminal Division
Bureau Chief
Rackéteering & Anti-trust Bureau.

' Res Investigation into RICO and Antitrust Violations
, Green Haven Correctional Facility

Dear Madame or Sir:

I write. respectfully seeking that you commence an
‘investigation into the corrupt business practices engaged in by
the administrative staff as the Green Haven Correctional Facility.
It appears as ifthe facility is being managed by and through a
"pattern of racketeering activity" and through a complex scheme of
kick-backs, embezzlement and unjust enrichment.

These RICO, Antitrust and Unjust Enrichment -schemes are
centered around the .monies from the (Inmate Liason Committee -
("ILC") being mis~appropriated, and used for purposes unrelated to
the inmate population. Monies earmarked -for inmates' medical
care, food, law library supplies and other items are being re-
directed to increased spending in unnecessary overtime, bonuses
and other spending in violation of the established law.

. ,Purther, the department is planning a wholesale: renovation
of the package program, whereas packages will omly be accepted
from approved vendors. The approval process implicitly denies
purchases from Walmart, Target, and other ‘bargain’ stores.
Instead, the only approved vendors are the smaller outfits which
have given kick-backs to the decision-makers, in exchange for
charging premium prices to the inmates. Indeed, the vendors who
are or will be abproved.are. charging between 25% and 50% of the’
prices for the same items solid by low-cost vendors. This violates
commerce and free-trade clauses of the Constitution, creating a
situation of price gouging by design, all to the benefit.of prison
administrators. a oo . - ,

~Monies allocated to medical supplies and law library
supplies are ‘disappearing. . These monies ‘are supposed to be
allocated. from the ILC and vending machine program for the use and
benefit of the inmates; not the prison administrators.
Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 17 of 28

It ‘is. therefore requested that you . commence an.
investigation into the creative accounting and internal corruption
of the administrators at the Green Haven Correctional Facility.
I£ you do not commence an investigation.within the next 30 days, I
will be forced to commence an action against you under the
Administrative, Procedures Act, 5 U.S.C. § 702, et seq: ”

Please be guided accordingly.
_ Very truly yours,

DANIEL MILLER

cc: _ Thomas Griffin
Superintendent

File
 

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Green Haven Correctional Facility
P.O. Box 4000 - Stormville, NY 12582-4000

 

 

 

September 20, 2017

Via Pirst Class Mail

V.P. & General Counsel
WALMART CORP. . .
' Corporate Legal Department
702 S.W. 8th Street
Bentonville, AR' 72716

Re: - Vendor Agreement between WALMART & NYSDOCGS_
Dear Madame or Sir:

This letter is written to advise you that I am considering
legal action against WALMART. I am considering legal. action due
to’ an agreement by and between WALMART and the New York State
Department of Corrections & Community Supervision (hereinafter
"N¥SDOCCS"). I believe the agreement violates both federal and
state anti-discrimination laws as well as. the Dormant. Commerce ©
ClauSe to the United States Constitution. —

At some point on or after 2010, WALMART, by and through
its Institutional Sales Department, entered into an ‘agreement with
the NYSbDOCcCS. Somewhere’ during the negotiations, it was agreed
that in exchange for making most purchases through WALMART and
SAM'S CLUB, that WALMART would not accept any orders from inmates,
either directly, or through third-parties. My family members
Giscovered this when they attempted to make purchases and ship
them directly to me, as opposed to having to pay shipping twice—
once from WALMART to the house, and. a second time from the house
to the facilty. At first, they overlooked it as Just maybe a
policy against third-party shipping. However,. when ‘they realized
that they were able to ship to third-parties other than inmates,
they discovered it was only inmates in the NYSDOCCS’ Indeed, in
the past, they sent me packages at the local correctional facility
I was incarcerated in.

_At some point in September, my family member contacted
your Customer Service Department and Sales Department. It was
disclosed—-perhaps mistakenly—that there was an agreement between
NYSDOCCS and WALMART preventing WALMART from merchandising to
inmates, either directly, or through third-parties. This is
‘an unlawful businéss practice. -

 

First, both state and federal ‘anti-discrimination laws:
prevent private parties, including companies such as WALMART from
refusing to conduct business with persons who form a_ suspect
class. Whether that suspect class is race~based, religion-based,
sexual-orientation based or other, is of no Moment. Indeed, the
anti-discrimination laws reach from disenfranchisement of voters
to employment, housing and education of convicted felons.
Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 19 of 28

Letter’ to WALMART m ,
September 20, 2017 Page Two

Second, the Dormant Commerce Clause of the United States
Constitution, Article I, Section 8, prevents any state agency from
promulgating . statutes, rules, regulations, . ordinances or
directives which obstruct or interfere in interstate commerce.
Sections 1983 and 1985 .of Title 42 of the United States Code
permits affected parties to sue not only the state actor, but
private actors, corporations included, under the theory of acting
in concert with the state actors.

By not allowing the inmates to reap the benefit of
. WALMART's competetive pricing, your agreement with the NyspoccS
obstructs and violates the Dormant Commerce Clause. Moreover,
your company is discriminating against us. as inmates—convicted
-£felons—on the basis of our custodial status. This is
unacceptable.

“The theory I am operating on is that this: illegal
agreement was necessary to procure the sales-contract by and
between WALMART and NYSDOCCS, and that was the benefit: to WALMART.
The benefit to NYSDOCCS, is more complicated. NYSDOCCS has an
"Approved Vendor List" of smaller companies which are permitted to -
merchandise directly to inmates. However, the pricing of goods
from these smaller companies is so high that it is unaffordable by
a good portion of the inmate population. Somewhere in. the
contract negotiation chain, kickbacks are being given. Also, many
of these smaller companies are owned and operated by former
correction officers and their families.

By letter dated September 17, 2017, I have asked the
United States Department of Justice and United States! Attorney
for the Southern District of New York (Anti-Corruption unit) to
look into this matter. In addition to being a corrupt and unfair
business practice, it violates numerous laws including anti-trust
laws and price-gouging. .

Therefore, I am writing to you to advise you that I.
intend to commence an action to enjoin the agreement. by and
between WALMART and NYSDOCCS as illegal and unenforceable, and for
money damages, if this. corrupt and illegal business practice
continues. I would appreciate it if you would contact the
undersigned as soon as possible and notify me of WALMART's
intentions with respect to this matter.

Please be guided accordingly.

Very truly yours,

cc: Anthony J. Annucci Otunl MMM

Acting Commissioner - DANIEL MILLER .
NYSDOCCS

1220 Washington Avenue
Albany, NY 12226
Case 1:18-cv-00037-CM | Document 8 Filed 01/03/18

Letter to WALMART
September 20, 2017

ccs.

Eric M. Schneiderman
NYS Attorney General
Public Corruption Unit
‘Department of Law

' The Capitol

Albany, NY 12224

United States Department of Justice
Special Litigation. Section
Anti-Trust Division

950 Constitution Avenue, N.W.
Washington, DC 20530

United States! Attorney
Southern District of New York
Sylvio J. Mollo Building

One St. Andrew's Plaza

New York, NY 10007

Attn: Anti-Corruption Bureau

Andrew M. Guomo
Governor

State of New York
Executive Tower

‘Empire State Plaza

Albany, . NY 12224.

The File

Page 20 of 28

Page Three
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Mary Miller
207 West Broadway
Inwood, NY 11096

(516) 612-4491

December 10, 2017

HEAVENLY HELPERS ROCK
1206 Leeds Street
Utica, NY 13501

Attn: Theresa

EMMAS PREMIUM FOODS
162 Washington Avenue
Edison, NJ 08817
Attn: ANTON

W.A. BEAN & SONS
229 Bomarc Road
Bangor, ME 04401

OUTSIDE INMATE PACKAGE PROGRAM
P.O. Box 130344
Brooklyn, NY 11213

KSR WEAR
P.O. Box 7644
Hicksville, NY 11801

BARE NECESSITIES
511 Avenue of the Americas # 343
New York, NY 10011

To all concerned parties:

The NYSDOCCS has now implemented a new package policy.
They have eliminated packages from home and have restricted orders
to eight companies. None of you are on the list. I am enclosing
a copy of the memorandum sent by NYSDOCCS to inmates at Green
Haven. I am also enclosing a copy of the Civil Complaint filed by
myself and another inmates' family member.

I would strongly advise you to contact your attorneys, and
to file a third-party complaint for violation of the Dormant
Commerce Clause, and the N.Y. General Business Law prohibiting
monopolies and illegal restraint of trade. As soon as I receive
the docket number from the Court I will send it to you under
separate cover.

I hope you will join us in fighting this tyrannic,
draconian policy.

AA tru yours,

me LL

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Case 1:18-cv-00037-CM Document8 Filed 01/03/18 Page 22 of 28

Daniel Miller
Din No. 15A3706
Greenhaven Correctional Facility
P.O. Box 4000
Stormville, NY 12582

December 15, 2017

Anthony J. Annucci, Acting Commissioner
NYSDOCCS

W.A. Harriman Campus, Bldg. 2

1220 Washington Avenue

Albany, NY 12226

Thomas Griffin, Superintendent
Greenhaven Correctional Facility
PLO. Box 4000

Stormville, NY 12582

Re: New Package Directive 4911A/Pilot Program
Dear Commissioner & Superintendent:

This letter is submitted to advise your offices that some
of our family members, my mother MARY MILLER included, have filed
a federal civil rights complaint, and motion for a preliminary
injunction and temporary restraining order. Upon completion of
the IGRC process, I, along with others, will file a Third-Party
Complaint against the new directive and the pilot program as well.

The complaint contends that the new policy is not racially
neutral, and targets low-income and minority families, as well as
violating the Dormant Commerce Clause and 14th Amendment to the
U.S. Constitution. The complaint further alleges that the
directive and policy illegally restrains trade and constitutes
deceptive business practices and price gouging under the New York
General Business Law.

Vendors such as BARE NECESSITIFS, KSRWEAR, EMMAS PREMIUM
FOODS, W.A. BEAN, OUTSIDE INMATE PACKAGE PROGRAM, and HEAVENLY
HELPERS ROCK have been provided with copies of the complaint, and
have contacted us. They are also in the process of retaining

attorneys to enjoin this disgraceful abuse of power.
Please be guided accordingly.

Very truly yours,

DANIEL MILLER
Case 1:18-cv-00037-CM Documents Filed 01/03/18 Page 23 of 28

MEMORANDUM
TO: SUPERINTENDENT GRIFFIN, FDS CCOLLADO, DSS RUSSO
olor HON. KENNETH M. KARAS, A.A.G. UVAYDOV, INV. BIGIT
HELEN CHARLAND, DISABILITY RIGHTS
FROM: DANTEL MILLER, 1543706
SUBJECT: UNLAWFUL KEEPLOCE
DATE: DECEMBER 23, 2017

To all concerned parties

+e

On December 22, 2017, T was nlaced in KERPLOCK by C.0O. Norrieada
7:00 a.m. Notwithstanding numerous questions, no one could tel
me the reason for the KEREPLOCK.

On December 23, 2017, at approximately 8:00 po.m., T discovered
from the Unit Officer, an African-American Female, that she
reveiwed the Unit Log Book. She further discovered that there was
NO entry in the Log Book for either a KEEPLOCK secondary to a
Misbehavior Report, OR for a 72 Hour Investigation. The officer,
however, refused to contact a Seargent or Lieutenant. :

I want this issue investigated, AND filed as a GRIEVANCE for
RETALTATION, and I DEMAND to be removed from KEEPLOCK immediately.

Respectfully,

DANTEL MILLER

~

cc: IGP SUPERVISOR
Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 24 of 28

MEMORANDUM
TO: SUPERINTENDENT GRIFFIN, FDS COLLADO, DSS RUSSO
CC: HON. KENNEDH M. KARAS, A.A.G. UVAYDOV, INV. BRIGIT

HELEN CHARLAND, DISABILITY RIGHTS

FROM: _ DANTEL MILLER, 15483706
SUBJECT: | UNLAWFUL KBEPLOCK
DATE: DECEMBER 23, 2017

To all concerned parties:

On December 22, 2017, I was placed in KFREPLOCK bv C.0. Norriega at
7:00 a.m. Notwithstanding numerous questions, no one could tell
me the reason for the KEEPLOCK.

On December 23, 2017, at approximately 8:09 o.m., I discovered
_ from .the Unit Officer, an African-American Female, that she
reveiwed the Unit Log Book. She further discovered that there was
NO entry in the Log Book for either a KEEPLOCK secondary to a
Misbehavior Resort, OR for a 72 Hour Investigation. The officer,
however, refused to contact a Seargent or Lieutenant.

I want this issve investigated, AND filed as a GRTEVANCE for
RETALTATION, and I DEMAND to be removed from KEEPLOCK immediately.

Respectfully,

DANIEL MILLER

ec: TGP

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Case 1:18-cv-00037-CM Documents Filed 01/03/18 Page 25 of 28

Daniel Miller
Din No. 15-A-3706
Green Haven Correctional Facility
P.O. Box 4000
Stormville, NY 12582

December 22, 2017

Hon. Kenneth M.: Karas

United States District dudade
United States Courthouse

3200 Quarropas Street, Room 533
White Plains, NY 10601

Sofya Uvaydov, Esa.

Assistant Attorney General
NYS Attorney General's Office
120 Broadway, 24th Floor.
New York, NY 10275

Tnvestigator F. Bigit
f£fice of Special Investigations
NYSpoOCCS
19-06 35th Avenue
Long Island Citv, NY 11106

Helen Charland

Disability Rights of New York
725 Broadwav, Suite 459
Albany, NY 12207

Anthony J. Annucci

Acting Commissioner

Nyspoccs

W.A. Harriman Campus, Rlea # 2
1220 Washington Avenue

Albany, NY 12226

Thomas Griffin

Superintendent

Green Haven Correctional Pacility
P.O. Box 4900

Stormville, NY 12582

RE: RETALIATION
To all concerned narties:

TI write you all teday to document the 1
retaliation tactics employed by members of the Green Hav
Today, at 7:00 a.m., my cell did not onen. T was given
tray and I was told I was "keeplocked" however, I never r
Misbehavior Report, nor was I informed of the reason for the

"keeplock." A short time later, F was informed by C.Q. Norrieda
Case 1:18-cv-00037-CM Document 8 Filed 01/03/18 Page 26 of 28

that "a Lieutenant wrote you up but TI don't know for what." I did
not question it any further. ,

At some point on the day, my mother, MARY MILLER, spoke.
with O.R.C. Grant. O.R.C. Grant, my Counselor, informed her that
I. was allegedly written a Misbehavior Report "some time last
week," although she could not see any specifics of charges. This
is bizarre since T have never received a Misbehavior Report to
‘date, ner have I been “keeblocked" prior to this morning.

At approximately 4:30 p.m., while in the officer's Console
in C-Block, inmates Fields and Mazzio, along with myself, could
hear a conversation between C.O. Rookwood and Seargent Katz, who
was making his watch tour. The following colloguy took place:

KATZ: So what are we doing with Miller?

ROOKWOOD: Well, we going to keep him locked
in for -72 hours, then we got
something in the works!

I personally believe, although T have no hard evidence
other than the conversations I overheard—along with others——that
ROOKWOOD and KATZ are trying. to come up with a false Misbehavior
‘Report. The problem they have, is I do not do anything I am not
legally entitled to do. Ags the Court docket is well-aware, this
is not the first time I have been written a false Mishehavior
Revort in retaliation for filing arievances. In my previous
letter to vou, I explained that Seargent Katz already threatened
me with a false Misbehavior Report alleged "Escape" using the
times and dates of incidents committed by staff.

Tf it
last week, and
commenced, then, the staff is already in violatio
departmental guidelines for hearings. If that ‘is not ac '
then this is a clear ploy and a fishing expedition which serves no
legitimate penological purpose. I have approximately 30
qrievances filed, and I am indeed being subjected to retaliation
for exercising my right to petition for redress of grievances as
quaranteed by the State and Federal Constitution, State. and
Federal Law, and Departmental Directives. T therefore ask the
Court to document this on the Court Docket, and to issue an Orcer
directing my immediate transfer.

s indeed true that a Mis behavior Reo port was writ
ave not been served, nor has a hearing b

bY

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x3
7 0
coh

T thank the Court and the parties for their patience and

understanding.

Respectfully submitted,

DANTEL MILLER

ec? O.R.C. Grant
Lt. Hann

 
mmsmauen CORE ALAS DORATEEM y RRUMUETS ELGGCBMEBTER, BORE oF 28

Side 2

Green Haven Correctional Facility
‘INMATE MISBEHAVIOR REPORT ¢ INFORME DE MAL COMPORTAMIENTO DEL RECLUSO

 

 

 

 

1. NAME OF INMATE (Last, First) > NOMERE DEL RECLUSO (Apelido, Nombre) NO. + NUM HOUSING LOCATION ¢# CELDA
Miller, Daniel 15A3706 ‘C-4-05
2 LOCATION OF INCIDENT ¢ VIOLACIONES . INCIDENT DATE ¢ FECHA INCIDENT TIME # HORA
Green Haven Correctional Facility December 15, 2017 11:00 AM proximately

 

3 RULE VIOLATION(S) +
103.20 SOLICITING

 

 

 

4. DESCRIPTION OF INCIDENT ¢

On December 15, 2017 a letter sent and signed by yA” inmaté Miller, D #15A3706, was received in the Green
Haven Correctional Facility Superintendent's office. The this letter is a template letter soliciting a business to file
complaints against the New York State Department of Corrections and Community Supervision regarding the
secure vendor program. It is a violation of the Standards of Inmate Behavior to solicit or request goods or services
from a business. By attempting to do so, you have undermined the process of the New York State Department of
Corrections and Community Supervision to complete a smooth transition to implement a pilot program which has
already established secured vendors for this program. Letter is attached. End of report.

 

 

 

 

 

 

2.fi.
REPORT DATE ¢ FECHA REPORTED BY ¢ NOMBRE DE LA PERSONA QUE HACE EL INFORME SIGNATIARE ¢ F, A TITLE ¢ TITULO
12/21/17 J. Gould . of Lieutenant
5. ENDORSEMENTS OF OTHER EMPLOYEE WITNESSES (if any) SIGNATURES : /
ENDOSOS DE OTROS EMPLEADOS TESTIGOS (si hay) FIRMAS: 1
2 3

 

 

 

NOTE: Fold back Page 2 on dotted line before completing below.

DATE AND TIME SERVED UPON INMATE \ANZE\ A TT SOQ) name ano Tie oF seRvER (0 ©. Landers

FECHA HORA DADO AL RECLUSO NOMBRE Y TITULO DEL QUE ENTREGA

 

 

 

You are hereby advised that no statement made by you in response to the charges or information derived therefrom may be used against you in a criminal
proceeding. ¢ Por este medio se le informa que no se puede usar ninguna declaracion hecha por usted como respuesta al crgoo informacion derivada de

ella en una demanda criminal.

NOTICE ¢ AVISO

REVIEWING OFFICER (DETACH BELOW FOR VIOLATION HEARING ONLY)

You are hereby notified that the above report is a formal charge and will be considered and determined at a hearing to be held. ¢ Por este medio se le notifica
que el informe anterior es un cargo formal el cual se considerara y determinara en una audiencia a celebrarse. .

The inmate shall be permitted to call witnesses provided that so doing does not jeopardized institutional safety or correctional goals. ¢ Se le permitira al recluso
llamar testigos con tal de que al hacerlo no pondra en peligro la seguridad de {a institucion o los objectivos del Departamento.

if restricted pending a hearing for this misbehavior report, you may write to the Deputy Superintendent for Security or his/her designee prior to the hearing to make
a statement on the need for continued prehearing confinement. ¢ Si esta.restringido pendiente a una audiencia por este informe de mal compartamiento, puede
escribirle al Diputado de! Superintendente para Seguridad o su respresentante antes de la audiencia para que haga una declaracion acerca de la necesidad de
continuar bajo confinamiento , previo a la auciencia.

Distribution: WHITE - Disciplinary Office CANARY - Inmate (After review) ¢ Distribucion: BLANCA - Oficinia Discipliaria AMARILLA - Recluso (despues de la resion)
 

=N HAVEN
CORRECTIONAL

FACILITY

GREEN HAVEN CORRECTIONAL FACILITY
P.O. BOX 4000
STORMVILLE, NEW YORK 12582-4000

ae
NAME:DANTEL MILLER DIN: FLAS 7ES

 

LEGAL MATL

 
